445 F.2d 854
    UNITED STATES of America, Plaintiff-Appellee,v.L. C. GREEN, Defendant-Appellant.No. 31036 Summary Calendar.**(1) Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409.
    United States Court of Appeals, Fifth Circuit.
    July 16, 1971, Rehearing Denied Aug. 6, 1971.
    
      Robert E. McDonald, Jr., Mobile, Ala., for defendant-appellant.
      Irwin W. Coleman, Jr., Asst. U.S. Atty., C. S. White-Spunner, Jr., U.S. Atty., Mobile, Ala., for plaintiff-appellee.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit judges.
      PER CURIAM:
    
    
      1
      Appellant L. c. Green was charged with interstate transportation of a stolen motor vehicle in violation of 18 U.S.C. 2312, and with receiving and concealing the same vehicle in violation of 18 U.S.C. 2313.  Green was convicted by a jury on the second count of receiving and concealing a stolen motor vehicle and was sentenced to five years imprisonment by the court below.  On this appeal appellant Green alleges (1) that the district court committed reversible error in its comment to the jury that the witness Highsmith was an accomplice only if the jury believed that defendant was guilty of the crime; (2) that the trial judge erred in his comment to the jury as to his reason for allowing defendant's alibi witness to answer a question as to the present residence of her husband; (3) that appellant's right to an appeal was seriously compromised when a fire in the Clerk's office destroyed the only existing copies of certain of defendant's requested jury charges; (4) that the trial court failed to prohibit introduction of a fingerprint card showing defendant's fingerprints on the ground that these prints may have been obtained by compulsion or coercion in violation of the Fifth Amendment; and (5) that the trial court erroneously allowed the jury to correct a mistake and clarify its verdict before final discharge.
    
    
      2
      This court has made a careful examination of the record and the briefs of counsel.  We find no merit in any of appellant's alleged grounds of error.  Accordingly, the judgment of the district court is affirmed.
    
    